      Case 2:11-cr-00100-FVS    ECF No. 198   filed 04/06/12   PageID.689 Page 1 of 1




 1                             UNITED STATES DISTRICT COURT
 2                         EASTERN DISTRICT OF WASHINGTON
 3

 4

 5
     UNITED STATES OF AMERICA,
                                                        No. CR-11-100-FVS-6
 6
                       Plaintiff,

 7
                                                        ORDER OF DISMISSAL
                v.                                      WITH PREJUDICE
 8

 9
     JESSICA CRABTREE,

10
                       Defendant.

11

12        IT IS HEREBY ORDERED:

13        The government’s oral motion to dismiss is GRANTED. The

14   indictment is dismissed with prejudice.

15        IT IS SO ORDERED.       The District Court Executive is hereby

16   directed to enter this order, furnish copies to counsel and close this

17   file.

18        DATED this     6th       day of April, 2012.

19
                                s/ Fred Van Sickle
20                                 Fred Van Sickle
                         Senior United States District Judge
21

22

23

24

25

26



     ORDER OF DISMISSAL- 1
